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1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                      ***

4
      UNITED STATES OF AMERICA,
5
                          Plaintiff,
6                                                         2:16-cr-00054-APG-VCF
      vs.                                                 ORDER
7     ANTOINE RANDOLPH,
8                          Defendant.
9           Before the court is Defendant's Motion to Withdraw as Attorney of Record (ECF NO. 39).
10          IT IS HEREBY ORDERED that a hearing on Defendant's Motion to Withdraw as Attorney of
11   Record (ECF NO. 39) is scheduled for 11:00 a.m., July 15, 2016, in courtroom 3D.
12          The U.S. Marshal is directed to transport defendant to and from the hearing.
13          DATED this 8th day of July, 2016.
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                                                                CAM FERENBACH
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                                                                UNITED STATES MAGISTRATE JUDGE

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